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                               ORDERED.


Dated: April 09, 2018




                          UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
                                 www.flmb.uscourts.gov

In re                                        )
                                             )
CATHERINE ECKLEY BENTLEY,                    )       Case No. 6:17-bk-00294-KSJ
                                             )       Chapter 7
             Debtor.                         )
                                             )
                                             )
SUSAN KOLB, M.D.,                            )
                                             )
             Plaintiff,                      )
                                             )
vs.                                          )       Adversary No. 6:17-ap-00047-KSJ
                                             )
CATHERINE ECKLEY BENTLEY,                    )
                                             )
             Defendant.                      )
                                             )
                                             )
ROBERT E. THOMAS,                           )
                                            )
             Plaintiff,                     )
vs.                                         )
                                            )        Adversary No. 6:17-ap-00048-KSJ
CATHERINE ECKLEY BENTLEY,                   )
                                            )
             Defendant.                     )
                                            )
                                            )
                                            )
SUSAN KOLB, M.D.,                           )




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               Plaintiff,                       )
vs.                                             )
                                                )           Adversary No. 6:17-ap-00119-KSJ
CATHERINE ECKLEY BENTLEY,                       )
                                                )
               Defendant.                       )



                              ORDER DIRECTING MEDIATION

       This case and related adversaries came on for hearing on April 9, 2018, on the Trustee’s

Objection to Debtor’s Claim of Exemptions (Doc. No. 44), Debtor’s Objection to Claim 4 of

Susan Kolb, M.D. (Doc. No. 48) (the “Objections”), Debtor’s Motion to Approve Conveyance of

Homestead Property (Doc. No. 27) (the “Motion”), and various Complaints filed in the adversary

proceedings. The Court had entered a Mediation Order (Doc. No. 66) on January 30, 2018, but

later vacated it (Doc. No. 78) due to guardianship issues. After reviewing the pleadings and

considering that the Parties potentially could resolve their dispute by mediation, it is

       ORDERED:

       1.      After the state court appoints a guardian for the Debtor, Catherine Eckley

               Bentley, the Creditor, Susan Kolb M.D., Trustee Robert Thomas, and the Debtor

               (the “Parties”), are directed to mediation for possible resolution of all the issues

               raised by the following:

               a. Trustee’s Objection to Debtor’s Claim of Exemptions (Doc. No. 44);

               b. Debtor’s Objection to Claim 4 of Susan Kolb, M.D. (Doc. No. 48);

               c. Debtor’s Motion to Approve Conveyance of Homestead Property (Doc. No.

                   27); and

               d. All issues raised in adversary proceedings 6:17-ap-00047-KSJ, 6:17-

                   ap-00048-KSJ, and 6:17-ap-00119-KSJ.



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       2.      Mediation is to occur at a mutually convenient time and be administered

consistent with Local Rule 9019-2.

       3.      The Court appoints the Honorable Cynthia C. Jackson as mediator.

       4.      Parties are directed to furnish a statement of the dispute together with a copy of

all relevant documents to the mediator and the opposing party or parties within twenty one (21)

days from service of this Order. The statement shall not be filed with the Court.

       5.      Every party participating in the mediation is directed to send a representative with

full settlement authority.

       6.      All parties to mediation are required to attend mediation in person, unless

authorized by the Court or mediator to attend by telephone.

       7.      Following the conclusion of the mediation, the mediator is directed to submit a

written report identifying the parties in attendance and indicating whether any settlement was

reached. If a settlement is reached, the Parties are directed to file a written settlement agreement

executed by the Parties within fourteen (14) days from the conclusion of the mediation and to

promptly seek necessary court approval.

       8.      Mediation must be completed by May 25, 2018, unless the mediator requests an

extension.



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The Clerk is directed to serve a copy of this order on all interested




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